 Case 1:12-cr-00636-NLH    Document 3     Filed 02/10/12     Page 1 of 1 PageID: 212




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY




UNITED STATES OF ANERICA             :      Mag.   No.     12-2022   (JS)

        V.


WAEL KF{ASHARMEH

                               SEALING ORDER


        This matter having come before the Court on the application

of the United States of America          (Diana V.    Carrig,    Assistant U.S.

Attorney,    appearing)   for a Complaint and Arrest Warrant,               and its

concurrent application that the Complaint and Arrest Warrant

filed against the person named in the warrant be filed under

seal,    and for good cause shown,

        It is on this 10th day of February,          2012,

        ORDERED that,   with the exception of copies of the Arrest

Warrant necessary for the execution thereof,               the Complaint,

Arrest Warrant and all other papers related to the above

captioned matter shall be filed under,          and are hereby sealed,

until the arrest of the individual named in the warrant or until

further order of this Court.




                                          CHNEIDER
                                          EITED STATES MAGISTRATE JUDGE
